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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                  :
    In re:                                                        :   Chapter 11
                                                                  :
    ORION HEALTHCORP, INC1.                                       :   Case No. 8-18-71748 (AST)
                                                                  :
                         Debtors.                                 :   (Jointly Administered)
                                                                  :
    HOWARD M. EHRENBERG IN HIS CAPACITY                           :
    AS LIQUIDATING TRUSTEE OF ORION                               :   Adv. Pro. No. 8-20-8049 (AST)
    HEALTHCORP, INC., ET AL.,                                     :
                                                                  :
                          Plaintiff,                              :
                                                                  :
    v.                                                            :
                                                                  :
    ARVIND WALIA; NIKNIM MANAGEMENT                               :
    INC.,                                                         :
                                                                  :
                             Defendant(s)                         :
                                                                  :

                  [PROPOSED] ORDER TO COMPLETE EXPERT DISCOVERY

             To The Honorable Court; Comes Now, Plaintiff Howard M. Ehrenberg In His Capacity

As Liquidating Trustee of Orion Healthcorp, Inc., et al, and submits this Proposed Order setting

forth the remaining deadlines for the resolution of remaining expert discovery.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.



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         1.       On or about January 25, 2022, Plaintiff and Defendants Arvind Walia, an

individual, and NIKNIM Management Inc.(the “Parties”) filed a Stipulation to Attend Mediation

and Toll Remaining Deadlines. (Dkt No.31)

         2.      On May 25, 2022, the Parties attended the scheduled Pre-Trial Conference and

advised the Court of the status of the litigation, their participation in mediation and ongoing

settlement discussions. The Court instructed the Parties to file a joint report no later than July 8,

2022, as to the status of their settlement efforts. Assuming no settlement by that date, the Parties

were to identify the remaining expert discovery deadlines.

         3.      On May 26, 2022, Plaintiff filed a status letter adjourning the applicable deadlines

and memorializing the status. (Dkt No. 36)

         4.      On July 15, 2022, the Parties memorialized the ongoing settlement discussions

and requested additional time to July 29, 2022, to advise the Court of the status of settlement

discussions and set forth the dates for completion of expert discovery. (Dkt. No. 37)

         5.      The continued Pre-Trial/Pre-motion conference is scheduled for September 14,

2022.

         Having been advised by the Parties they were unable to successfully resolve the litigation

at mediation, the tolling of remaining deadlines as outlined in the Stipulation To Attend

Mediation and Toll Remaining Deadlines (Dkt No. 31) is hereby terminated and the deadlines set

forth under the Case Management and Discovery Plan (Dkt No. 10) solely with respect to

concluding remaining expert discovery in accordance with Fed. R. Civ. P. 16(b) and 26(f), is

set forth as follows:




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                 a.          No later than thirty (30) days from the issuance of this Order, all rebuttal

or responsive expert reports and other disclosures required under Fed. R. Civ. P. 26 (a)(2) shall

be made including the service of any expert report(s).

                 b.          All expert discovery shall be completed no later than sixty (60) days

from the issuance of this Order.




SO ORDERED:




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